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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

       SUNIL BHATIA, individually, and      )
       derivatively on behalf of MEDVALUE   )
       OFFSHORE SOLUTIONS, INC.,            )
                                            )
                             Plaintiff,     )                Case No. 1:18-cv-02387
                                            )
                v.                          )
                                            )
       RAJU VASWANI, an individual, KARAN )
       VASWANI, an individual, ASSIVO, INC. )                Hon. Robert M. Dow, Jr.
       (f/k/a MV OUTSOURCING, INC.), an     )
       Illinois Corporation,                )                Hon. Beth W. Jantz
                                            )
                             Defendants.    )


                              MOTION TO WITHDRAW
                   LINDSAY K. EASTMAN AS COUNSEL OF RECORD

       Rathje Woodward LLC, counsel for Defendants Karan Vaswani (“Karan”) and Assivo,

Inc. (“Assivo”) (collectively, “Defendants”) hereby give notice to the Clerk of Court and counsel

of record, that Lindsay K. Eastman is no longer an attorney with Rathje Woodward LLC, and will

no longer appear on behalf of the Defendants in the above-captioned case. Attorney Timothy D.

Elliott will continue to represent Defendants in the above-captioned litigation.

       WHEREFORE, pursuant to Local Rule 83.17, Defendants respectfully request that this

Court grant this motion to withdraw Lindsay K. Eastman and remove Lindsay K. Eastman as an

attorney of record for Defendants Karan Vaswani (“Karan”) and Assivo, Inc. (“Assivo”)
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Dated: January 5, 2021                Respectfully submitted,

                                      By: /s/ Timothy D. Elliott

                                        Timothy D. Elliott
                                        Rathje Woodward LLC
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                                        Wheaton, Illinois 60187
                                        (630) 668-8500
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                                        Attorneys for Defendants
                                        Karan Vaswani and Assivo, Inc.
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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 5, 2021, I caused the foregoing document to be
electronically filed with the Clerk of the Court utilizing the Court’s CM/ECF filing system, which
will send notification of filing to the counsel of record for the parties:




                                                     /s/ Timothy D. Elliott
                                                      Timothy D. Elliott
                                                       Counsel for Defendants
                                                       Karan Vaswani and Assivo, Inc.
